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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

Xx

 

PRATIK PATEL, individually and as a

shareholder of PAN KING, Inc. d/b/a NY Chicken & Rice;

LALIT PATEL, individually and as a partner of

PAN KING, Inc. d/b/a NY Chicken & Rice
DOCKET #
2:21-cv-00759-JS-SIL

Plaintiffs,

-against-

NODDY SINGH, ARJUN SINGH, individually and as
shareholders of PAN KING, Inc. d/b/a NY Chicken & Rice

Defendants.

 

DECLARATION OF BOBBY WALIA
BOBBY WALIA, ESQ., under penalty of perjury and in accordance with 28 U.S.C.

§ 1746, states and declares that the following is true and correct:

1. I am a principal with the law firm of Walia & Walia, PLLC, attorneys for the
Defendants Noddy Singh and Arjun Singh(“Singhs”) (collectively,
“Defendants”) and am fully familiar with the pleadings and all prior proceedings
in this action.

2. Isubmit this declaration in support of Defendants’ motion for summary Judgment

against Plaintiffs.
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3. Attached hereto as Exhibit “1” is a true and accurate copy of Plaintiff’s Summons
and Complaint.

4. Attached hereto as Exhibit “2” is a true and accurate copy of Defendants’ Answer.

5. Attached hereto as Exhibit “3” is a true and accurate copy of pages from Plaintiff's

deposition transcript.

Dated: July 17, 2023 Respectfully submitted,
/s/ Bobby Walia
Bobby Walia
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